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OFFICE OF THE MONITOR
NUNEZ, ET AL. V. CITY OF NEW YORK, ET AL.

                                                                                              Steve J. Martin
                                                                                                      Monitor

                                                                                           Anna E. Friedberg
                                                                                              Deputy Monitor
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                                                                                   September 19, 2016
Via ECF
The Honorable Laura T. Swain
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10006

Re: Nunez, et al. v. City of New York, et al., 11-cv-5845 (LTS) (JCF)

Dear Judge Swain:

        We write to advise the Court about a series of agreements the Monitoring Team
reached with the New York City Department of Correction (hereafter the “Department”),
Plaintiffs’ Class Counsel, the United States Attorney’s Office for the Southern District of
New York (“SDNY”) about the confidentiality and use of certain documents that are
developed and produced by the Monitoring Team and the Department as required by the
Consent Judgment. Exhibit 1 to this letter identifies the agreements reached regarding the
above-mentioned persons or entities’ use of: 1) the draft Monitor’s report; 2) the narrative
description of the Department’s Compliance Report1; and 3) the information produced by
the Department in connection with the Compliance Report2 by the Plaintiffs’ Class
Counsel and SDNY.

        Over the last few months, the Monitoring Team worked closely with Plaintiffs’
Class Counsel, SDNY and the Department to carefully consider the use and
confidentiality of the information produced by the Monitoring Team and the Department


1
  Section XIX (Reporting Requirements and Parties’ Right of Access), Paragraph 4(a)
2
  Section XIX (Reporting Requirements and Parties’ Right of Access), Paragraph 4(b), 4(c), 4(d) except for
Paragraph 4(c)(viii). The Monitoring Team and the Parties agreed to discuss the use and confidentiality of
the quarterly reports by the UOF Auditor after the first report is issued.
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                                                                                    Steve J. Martin
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to ensure the Monitor can responsibly fulfill his obligations under the Consent Judgment.
This includes allowing the Monitoring Team the opportunity to analyze data produced by
the Department to provide appropriate context in order to avoid the misinterpretation or
the dissemination of incomplete or confusing information.

       Please do not hesitate to contact us if you have any questions or require further
information.

                                             Sincerely,

                                             s/ Steve J. Martin
                                             Steve J. Martin, Monitor
                                             Anna E. Friedberg, Deputy Monitor




                                                                                                      2
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                                                                                   Exhibit 11

                                                                                    Legend

                                                                                                                          The blue box means that the information is not
                                                                                                                          confidential, but the Parties have agreed not to use
                                                                                                                          the information during the 60-day period between
Category 1     The red box means the information is confidential                                Category 2                the issuance of the Department’s Compliance
                                                                                                                          Report and the filing of the Monitor’s Report with
                                                                                                                          the Court. The information is not confidential after
                                                                                                                          the filing of the Monitor’s Report.

               The green box means the information identified in the “Description” column is not confidential and may be used to inform discussions or responses
               to inquires related to the City Jails during the 60-day period between the issuance of the Department’s Compliance Report and the filing of the
               Monitor’s Report with the Court. However, the information identified in the “Status of Confidentiality” column may not be disclosed during the
Category 3
               60-day period between the issuance of the Department’s Compliance Report and the filing of the Monitor’s Report with the Court. The information
               is not confidential after the filing of the Monitor’s Report. Further, the underlying documents with the raw data will not be publicly posted or
               provided to any third parties.


                                                                                                                                                                  Corresponding
                                                                                                                                             Consent
                                                                                                                                                                  Compliance
Description                                                                                     Status of Confidentiality                    Judgment
                                                                                                                                                                  Report
                                                                                                                                             Provision
                                                                                                                                                                  Appendix
Draft Monitor’s Report                                                                          Confidential (Category 1)                    § XX, , ¶ 17
Compliance Report Narrative
The narrative portion of the Compliance Report is confidential. Plaintiffs and DOJ              Confidential (Category 1)                    § XIX, ¶ 4.a.
will have the opportunity during the comment period to the draft Monitor’s Report

       1
         This agreement is not intended to preclude the Monitor from developing or incorporating information in the Monitor Report filed with the Court that he deems
       appropriate to fulfill his responsibilities under the Consent Judgment and consistent with the obligations in Section XX (Monitoring), Paragraph 17. Further, this
       agreement is not intended to preclude the Department from using its own information for any purpose outside this litigation, including any public reporting that
       the Department is required to publicly report as part of the ordinary course of business, as contemplated by the Protective Order previously entered in this case
       (Dkt. 89, ¶ 9 at pg. 5). To the extent that the Department publicly reports data or information as part of the ordinary course of business, this agreement does not
       prohibit the Parties from discussing that data or information once it has become publicly available.
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to request the Monitor incorporate factual points from the narrative into the
Monitor’s Report (assuming the Report does not already incorporate those facts). If
the requested facts are not ultimately included in the Final Monitor’s Report, then
Plaintiffs and DOJ may have the opportunity to ask the Monitor and the Department
if the fact(s) may be made public after the Monitor’s Report is issued. It is
contemplated that these types of factual issues will be non-controversial (i.e. the
number of staff in the Trials & Litigation Division).
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Number of Use of Force Incidents by Status, Facility, and Injury Class during the     discussed during 60 Day Period of
                                                                                                                              § XIX, ¶ 4.b.i.     Appendix A
Reporting Period.                                                                     development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
                                                                                      No discussion during 60 Day Period of
                                                                                      development of Monitor Report, but is
Average Daily Population by Facility and Inmate Age Category.                                                                 § XIX, ¶ 4.b.ii.    Appendix B
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
                                                                                      No discussion during 60 Day Period of
Average Staffing Levels by Facility, Rank, and Inmate Age Category during the         development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.b.iii.   Appendix C
Reporting Period.                                                                     not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
                                                                                      No discussion during 60 Day Period of
Average Staff on Probationary Status Assigned on Regular Basis to Housing Units       development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.b.iv.    Appendix D
for 16-17 Year Old Inmates by Facility and Rank during the Reporting Period.          not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Number of Inmates Injured in Use of Force Incidents by Incident Status, Facility,     discussed during 60 Day Period of
                                                                                                                              § XIX, ¶ 4.b.v.     Appendix E
and Injury Class during the Reporting Period.                                         development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
The number of inmate-on-inmate assaults and fights involving Young Inmates, the       No discussion during 60 Day Period of
number of Young Inmates who were injured in such assaults or fights, and the          development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.b.vi.    Appendix F
number of Young Inmates who suffered Class A Injuries in such assaults or fights      not confidential after filing of
during the Reporting Period.                                                          Monitor’s Report (Category 2)
The number of staff injuries resulting from Use of Force Incidents during the         No discussion during 60 Day Period of   § XIX, ¶            Appendix G
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Reporting Period.                                                                     development of Monitor Report, but is   §4.b.vii.
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
                                                                                      No discussion during 60 Day Period of
                                                                                                                              § XIX, ¶
The number of cell extractions involving use of chemical agents only and no other     development of Monitor Report, but is
                                                                                                                              4.b.viii. & §       Appendix H
Use of Force during the Reporting Period.                                             not confidential after filing of
                                                                                                                              XIX, ¶ 4.b.ix.
                                                                                      Monitor’s Report (Category 2)
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Number of Use of Force Incidents Referred for Full ID Investigation by Incident       discussed during 60 Day Period of
                                                                                                                              § XIX, ¶ 4.b.x.     Appendix I
Status and Facility during the Reporting Period.                                      development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
                                                                                      discussed during 60 Day Period of
Number of Full ID Investigations Closed by Facility during the Reporting Period.                                              § XIX, ¶ 4.b.xi.    Appendix J
                                                                                      development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
Use of Force numbers and dates of Use of Force incidents that remain open as of the
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.i.     Appendix K
end of the Reporting Period.
                                                                                      Not Confidential, but information
                                                                                      categorized by age shall not be
Total number of Full ID Use of Force Investigations open cases by quarter and year    discussed during 60 Day Period of
                                                                                                                              § XIX, ¶ 4.c.i.     Appendix K
as of the end of the Reporting Period.                                                development of Monitor Report, but is
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 3)
                                                                                                                              § XIX, ¶
Use of Force Investigations (Facility & ID) with Conclusion of Violation except for
                                                                                                                              4.c.ii.1. &
aggregate data and qualitative analysis developed by Monitor and reported in          Confidential (Category 1)                                   Appendix L
                                                                                                                              § XIX, ¶
Monitor’s Report.
                                                                                                                              4.c.ii.2.
Number of Staff who have received Counseling Meetings by facility and rank. The
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.iii.   Appendix M
shield numbers of Staff and the dates of Counseling Meetings.
                                                                                      No discussion during 60 Day Period of
Total number of Staff system-wide who were counseled in the reporting period
                                                                                      development of Monitor Report, but is   § XIX, ¶ 4.c.iii.   Appendix M
during the Reporting Period.
                                                                                      not confidential after filing of
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                                                                                      Monitor’s Report (Category 2)
Number of wall mounted video surveillance cameras installed by facility.              Confidential (Category 1)               § XIX, ¶ 4.c.iv.   Appendix N
The total number of cameras installed system-wide during the Reporting Period.        Not Confidential (Category 3)           § XIX, ¶ 4.c.iv    Appendix N
Location of inoperable wall mounted video surveillance cameras and length of time
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.v.    Appendix O
the cameras have been inoperable.
                                                                                      No discussion during 60 Day Period of
Total number of inoperable video surveillance cameras system wide during the          development of Monitor Report, but is
                                                                                                                              § XIX, ¶ 4.c.v.    Appendix O
Reporting Period.                                                                     not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
Names of Inmates placed in Punitive Segregation or Isolation.                         Confidential (Category 1)               § XIX, ¶ 4.c.vi.   Appendix P
 • Number of 18-year-old inmates placed in Punitive Segregation or Isolation
   during the Reporting Period.
                                                                                      No discussion during 60 Day Period of
 • Reasons for the confinement (i.e., the nature of the Inmate’s infraction) of the
                                                                                      development of Monitor Report, but is
   18-year-old inmates, but no identifying information during the Reporting                                                   § XIX, ¶ 4.c.vi.   Appendix P
                                                                                      not confidential after filing of
   Period.
                                                                                      Monitor’s Report (Category 2)
 • Number of 18 year old inmates placed in Punitive Segregation or Isolation that
   suffer from a mental illness during the Reporting Period.
                                                                                      No discussion during 60 Day Period of
A summary of the training provided to Staff Members pursuant to the Consent
                                                                                      development of Monitor Report, but is   § XIX, ¶
Judgment, including the name of each training course provided and the number of                                                                  Appendix Q
                                                                                      not confidential after filing of        4.c.vii.
Staff who successfully completed the course during the Reporting Period.
                                                                                      Monitor’s Report (Category 2)
Names and ranks of Staff assigned to Work Regularly in Young Adult Housing
                                                                                      Confidential (Category 1)               § XIX, ¶ 4.c.ix.   Appendix S
Area.
                                                                                      No discussion during 60 Day Period of
                                                                                      development of Monitor Report, but is
Summary of Young Inmate Programming during the Reporting Period.
                                                                                      not confidential after filing of
                                                                                      Monitor’s Report (Category 2)
